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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CIVIL NO. 9:22-cv-80235-RAR


  NATHAN J. ROWAN, individually and on
  behalf of others similarly situated,

                      Plaintiff,

  v.

  UNITED ENROLLMENT SERVICES
  LLC, ET AL.

                      Defendants.


              JOINT NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND
                 DEFENDANT UNITED ENROLLMENT SERVICES, LLC

         Plaintiff, Nathan J. Rowan (“Plaintiff”), and Defendant, United Enrollment Services,

  LLC (“UES”), hereby file this Joint Notice of Settlement notifying the Court that they have

  entered into a settlement agreement that fully resolves Plaintiff’s individual claims in this action

  against UES, without prejudice as to any claims of the putative class members against UES.

  Pursuant to Federal Rule of Civil Procedure 41(a) and their settlement agreement, Plaintiff and

  UES anticipate filing a stipulation of dismissal to this effect within the coming weeks.

         The settlement does not include Defendant Adroit Health Group, LLC (“Adroit”), and

  Plaintiff will continue to pursue the putative class claims against Adroit.

  Dated July 13, 2022                           Respectfully submitted,

                                                UNITED ENROLLMENT SERVICES, LLC

                                                By counsel

                                                /s/Carl Taylor Smith__________
                                                Carl Taylor Smith (Florida Bar No. 1003543)
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                                     and

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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on July 13, 2022, I electronically filed the foregoing Joint Notice of

  Settlement between Plaintiff and Defendant United Enrollment Services, LLC using the

  CM/ECF system, which will automatically send e-mail notification of such filing to counsel of

  record as follows:

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         Counsel for Defendant,
         Adroit Health Group, LLC

                                                       /s/ Carl Taylor Smith
                                                       Carl Taylor Smith




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